The Honorable Michael Lamoureux State Representative P.O. Box 1064 Russellville, AR 72811-1064
Dear Representative Lamoureux:
I am writing in response to your request for an opinion concerning the case of Sharp v. State, 350 Ark. 529, ___ S.W.3d ___ (2002). You have asked whether this case has any effect on A.C.A. §§ 26-57-404, which amended part of the law that is popularly known as the "Chuck-E-Cheese" law.
RESPONSE
The issues presented by your request are implicated in the case of Statev. 26 Gaming Machines (Sebastian County Circuit Court No. CIV 2002-387), which is currently on appeal to the Arkansas Supreme Court (No. 03-173). In recognition of the judiciary's independent constitutional role, it has long been the Attorney General's policy, as an officer in the executive branch of government, to refrain from rendering opinions on matters that are pending before the courts for determination. Additionally, because this office represents the State in the appeal of this case, I believe that it would be inappropriate for me to issue an opinion on issues relating to the pending dispute.
I am thus unable at this time to render an opinion in response to your question. The issues you have raised are properly before the judicial branch to be resolved in that forum. If you wish to seek an opinion regarding the so-called "Chuck-E-Cheese" law (A.C.A. § 26-57-401 et seq.) after this case is decided, I will be pleased to respond in as timely a manner as possible.
Assistant Attorney General Elisabeth A. Walker prepared the foregoing opinion, which I hereby approve.
Sincerely,
MIKE BEEBE Attorney General
MB:EAW/cyh